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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                              CRIMINAL 10-0113CCC
 1) RICARDO BETANCOURT-MUÑOZ
 2) JOSE RAMON PARRA-BOTERO
 3) WILLIAM GARZON
 4) CARLOS MAESTRE-ASTACIO
 5) MANUEL DE JESUS CEDEÑO-VILORIO
 6) MIGUEL ANGEL BUILES-MEJIA
 7) JOSE GOMEZ-CUBERO and
 8) JOSE I. VALENTIN-LOPEZ
 Defendants



                                         ORDER

       Having considered the Report and Recommendation filed on October 19, 2011
(docket entry 90) on a Rule 11 proceeding of defendant Carlos Maestre-Astacio (4) held
before U.S. Magistrate Judge Bruce J. McGiverin on October 19, 2011, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Maestre-Astacio is accepted. The Court FINDS that his plea was voluntary and
intelligently entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since October 19, 2011.       The sentencing hearing is set for
February 2, 2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on December 1, 2011.


                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
